
In re Sylvas, Donald; — Plaintiffs); applying for supervisory and/or remedial writs; Parish of St. Tammany, 22nd Judicial District Court, Div. “C”, No. 166702; to the Court of Appeal, First Circuit, No. KW97 0154.
Denied. La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), *642660 So.2d 1189; State ex rel. Stepter v. Whitley, 93-2346 (La. 10/13/96), 661 So.2d 480.
CALOGERO, C.J., not on panel.
